      Case 6:21-cv-00453-ADA-DTG Document 62-1 Filed 12/02/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

SWISSDIGITAL USA CO., LTD.,                    §
          Plaintiff,                           §
                                               §       Case No. 6:21-cv-453-ADA
v.                                             §
                                               §       JURY TRIAL DEMANDED
WENGER S.A.                                    §
          Defendant.                           §


                           AMENDED SCHEDULING ORDER


          Deadline                                        Item
 January 13, 2023        Close of Fact Discovery.
 January 20, 2023        Opening Expert Reports.
 February 17, 2023       Rebuttal Expert Reports.
 March 9, 2023           Close of Expert Discovery.
 March 10, 2023          Deadline for the second of two meet and confers to discuss
                         narrowing the number of claims asserted and prior art references at
                         issue to triable limits. To the extent it helps the parties determine
                         these limits, the parties are encouraged to contact the Court’s Law
                         Clerk for an estimate of the amount of trial time anticipated per side.
                         The parties shall file a Joint Report within 5 business days regarding
                         the results of the meet and confer.
 March 17, 2023          Mediation deadline.
 March 17, 2023          Dispositive motion deadline and Daubert motion deadline.
                         See General Issues Note #9 regarding providing copies of the
                         briefing to the Court and the technical adviser (if appointed).
 March 21, 2023          Serve Pretrial Disclosures (jury instructions, exhibits lists, witness
                         lists, discovery and deposition designations).
 March 23, 2023          Parties email the Court’s law clerk to confirm pretrial and trial dates
 April 4, 2023           Serve objections to pretrial disclosures/rebuttal disclosures.
 April 10, 2023          Serve objections to rebuttal disclosures; file Motions in limine.
 April 17, 2023          File Joint Pretrial Order and Pretrial Submissions (jury instructions,
                         exhibits lists, witness lists, discovery and deposition designations);
                         file oppositions to motions in limine


                                                   1
4857-3575-9167, v. 4
        Case 6:21-cv-00453-ADA-DTG Document 62-1 Filed 12/02/22 Page 2 of 2




          Deadline                                        Item
    April 13, 2023       File Notice of Request for Daily Transcript or Real Time Reporting.
                         If a daily transcript or real time reporting of court proceedings is
                         requested for trial, the party or parties making said request shall file
                         a notice with the Court and e-mail the Court Reporter, Kristie Davis
                         at kmdaviscsr@yahoo.com
    April 20, 2023       Deadline to meet and confer regarding remaining objections and
                         disputes on motions in limine.
    April 24, 2023       File joint notice identifying remaining objections to pretrial
                         disclosures and disputes on motions in limine.
    April 27, 2023       Final Pretrial Conference.
    May 18, 20231        Jury Selection/Trial.




SIGNED this ____ day of _________________________, 2022.




                                            ALAN D ALBRIGHT
                                            UNITED STATES DISTRICT JUDGE




1
 If the actual trial date materially differs from the Court’s default schedule, the Court will
consider reasonable amendments to the case schedule post-Markman that are consistent with the
Court’s default deadlines in light of the actual trial date.

                                                 2
4857-3575-9167, v. 4
